         Case 1:16-cv-00122-JAR Document 18               Filed 08/05/22      Page 1 of 2




THE UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: THE HONORABLE JANE A. RESTANI, JUDGE


 AMERICAN SERVICE INSURANCE CO.,
                                                       COURT NO. 16-00122
                                    Plaintiff,

                                    v.

 UNITED STATES,

                                    Defendant.


                     PLAINTIFF’S SUPPLEMENTAL STATUS REPORT

       On July 29, 2022, pursuant to the Court’s order dated June 29, 2022, plaintiff American

Service Insurance Co. and the United States provided the Court with a status report. However, on

July 29, 2022, plaintiff had not been able to advise plaintiff’s counsel as to how it wished for

counsel to proceed. Plaintiff’s counsel requested the Court grant plaintiff an additional seven days,

to an until August 5, 2022, for plaintiff to so advise counsel and for counsel to advise the Court.

By way of background, the Court originally suspended this case under test case no. 15-00175. On

July 23, 2019, this Court granted the Government’s motion for summary judgment and denied

New Image’s motion in test case no. 15-00175. Specifically, the Court sustained U.S. Customs

and Border Protection’s assessment of excise tax on New Image’s tobacco wraps using the 0.915

weight based on its finding that Customs’ weighing using an indirect method was in accordance

with law. New Image Global, Inc. v. United States, Slip Op. 19-90 (July 23, 2019). New Image

appealed this Court’s decision, which the U.S. Court of Appeals for the Federal Circuit affirmed.

On June 28, 2022, the Federal Circuit issued the mandate.

       In the party’s Joint Status Report filed on July 29, 2022, counsel for plaintiff advised the

Court that counsel was awaiting confirmation from plaintiff that it does not wish to continue with
          Case 1:16-cv-00122-JAR Document 18              Filed 08/05/22     Page 2 of 2




the suspension on the grounds that there may be issues other than the disputed question presented

in the test case. However, on this date, counsel for plaintiff was advised that plaintiff does wish

to continue with the suspension on the grounds that there may be issues other than the single

disputed question presented in the test case which may be amenable to settlement between the

importer, New Image Global, Inc. and defendant, the United States. Plaintiff is informed and

believes that New Image Global and CBP are currently in active discussions regarding settlement

of various administrative matters. On that basis, pursuant to USCIT Rule 85(e), Plaintiff

respectfully requests the Court allow Case No. 16-00122 to remain on the Suspension Disposition

Calendar along with Case Nos. 14-00271, 15-00316, and 16-00016 for six months, up to and

including January 29, 2023, so New Image Global Inc. can continue to pursue settlement. Good

cause exists because Plaintiff believes a settlement will obviate the need to litigate Case No. 16-

00122.

         Defendant has already responded, in its July 29, 2022 Joint Status Report, that because the

Government prevailed on the disputed question presented in the test case, which is the same

question in the suspended case, the Government respectfully requested that the case be removed

from the Suspension Disposition Calendar, and absent a showing by plaintiff that any differences

exist, the case should be dismissed.


Dated: August 4, 2022                         Respectfully submitted,

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                                       By:    /s/ T. Randolph Ferguson
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